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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

             UNITED STATES OF AMERICA )
                                      )                    CRIMINAL ACTION FILE
                  v.                  )
                                      )                    NO. 1:10-CR-521-TCB-AJB-02
             OTIS HENRY,              )
                                      )
                          Defendant.  )

                       UNITED STATES MAGISTRATE JUDGE’S ORDER AND
                         NON-FINAL REPORT AND RECOMMENDATION

                   Defendant Otis Henry seeks to suppress from his trial evidence seized from a

             residence in Chamblee, Georgia, and a motel room in Tampa, Florida, [Docs. 508, 513

             and 521], his post-arrest statements, [Doc. 507], and identification testimony,

             [Doc. 509, 552, 573]. The Court held an evidentiary hearing, [Doc. 587 (hereinafter

             “T_”], after which the parties filed briefs. [Docs. 615, 671 (Henry); 629 (Govt.)]. For

             the reasons that follow, the undersigned RECOMMENDS that the motions to suppress

             evidence from 1855 8th Street, Chamblee, Georgia, [Docs. 513, 521], and

             identifications, [Docs. 509, 552, and 573], be DENIED; the motion to suppress

             statements, [Doc. 507], be GRANTED IN PART AND DENIED IN PART; and the

             motion to suppress evidence, [Doc. 508], be DENIED IN PART AND HELD IN




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             ABEYANCE IN PART, pending the filing of additional briefs on the voluntariness

             of Defendant’s consent to search Room 125 of the Wingate Inn, as directed below.

             I.    Motions to suppress evidence from search by warrant of 1855 8th Street,
                   Chamblee, Georgia

                   Henry seeks to suppress the fruits of a State search warrant executed at this

             address on October 1, 2010. However, the Court need not reach the merits of his

             arguments because he did not establish that he had a legitimate expectation of privacy

             in the premises searched.

                   To challenge a seizure as violating the Fourth Amendment, a defendant must

             have “standing,”1 i.e., a legitimate expectation of privacy in the premises. See United

             States v. Gonzalez, 940 F.2d 1413, 1420 n.8 (11th Cir. 1991). As a result, the Fourth

             Amendment protects an individual in those places where he can demonstrate a

             reasonable expectation of privacy against government intrusion. See Katz v. United

             States, 389 U.S. 347, 353 (1967). Fourth Amendment rights are personal, and only

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                            The undersigned recognizes that the Supreme Court disapproves of the use
             of the word “standing.” See Rakas v. Illinois, 439 U.S. 128, 139-40 (1978); see also
             United States v. Hawkins, 681 F.2d 1343, 1344-45 (11th Cir. 1982). However, the
             undersigned will use the word “standing” when referring to whether the defendant has
             an expectation of privacy because the parties have used this term and courts routinely
             use “standing” as “shorthand for the existence of a privacy or possessory interest
             sufficient to assert a Fourth Amendment claim.” United States v. Daniel, 982 F.2d 146,
             149 n.2 (5th Cir. 1993).

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             individuals who actually enjoy the reasonable expectation of privacy may challenge the

             validity of a government search. Rakas v. Illinois, 439 U.S. 128, 133-34, 143 (1978);

             United States v. Cooper, 203 F.3d 1279, 1284 (11th Cir. 2000). One’s standing to

             challenge governmental actions on Fourth Amendment grounds is a threshold question.

             United States v. McBean, 861 F.2d 1570, 1573 (11th Cir. 1988). The defendant bears

             the burden of showing a legitimate expectation of privacy in the area searched. United

             States v. Harris, 526 F.3d 1334, 1338 (11th Cir. 2008); United States v. Brazel,

             102 F.3d 1120, 1147 (11th Cir. 1997).

                   An individual has standing to challenge a search if “(1) he has a subjective

             expectation of privacy, and (2) society is prepared to recognize that expectation as

             objectively reasonable.” Harris, 526 F.3d at 1338. That is, a defendant must establish

             both a subjective and an objective expectation of privacy. United States v. Segura-

             Baltazar, 448 F.3d 1281, 1286 (11th Cir. 2006); United States v. Robinson,

             62 F.3d 1325, 1328 (11th Cir. 1995). The subjective prong is a factual inquiry, United

             States v. McKennon, 814 F.2d 1539, 1543 (11th Cir. 1987), United States v. Jones,

             184 Fed. Appx. 943, 947 (11th Cir. June 22, 2006); and “requires that a person exhibit

             an actual expectation of privacy.” United States v. King, 509 F.3d 1338, 1341 (11th Cir.

             2007) (quoting Segura-Baltazar, 448 F.3d at 1286). The objective prong is a question

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             of law, McKennon, 814 F.2d at 1543, and “requires that the privacy expectation be one

             that society is prepared to recognize as reasonable.” King, 509 F.3d at 1341 (quoting

             Segura-Baltazar, 448 F.3d at 1286).

                   Courts assess on a case-by-case basis the “standing” of a particular person to

             challenge an intrusion by government officials into an area over which that person

             lacked primary control. Oliver v. United States, 466 U.S. 170, 191 n.13 (1984).

             No one circumstance is talismanic to this inquiry.          United States v. Haydel,

             649 F.2d 1152, 1154 (5th Cir. Unit A Jul. 8, 1981)2; see also Rakas, 439 U.S. at 152

             (stating that the legitimacy of one’s privacy claim is determined by totality of the

             circumstances) (Powell, J., concurring). “While property ownership is clearly a factor

             to be considered in determining whether an individual’s Fourth Amendment rights have

             been violated, property rights are neither the beginning nor the end of . . . [the]

             inquiry.” United States v. Salvucci, 448 U.S. 83, 92 (1980) (citation omitted). Other

             factors to be weighed include whether the defendant has a possessory interest in the

             thing seized or the place searched, whether he has the right to exclude others from that

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                          The Eleventh Circuit has adopted as binding precedent decisions of the
             Fifth Circuit, including Unit A panel decisions of that circuit, rendered prior to
             October 1, 1981. See United States v. Todd, 108 F.3d 1329, 1333 n.5 (11th Cir. 1997);
             Limelight Productions, Inc., v. Limelite Studios, Inc., 60 F.3d 767, 769 n.1 (11th Cir.
             1995).

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             place, whether he has exhibited a subjective expectation that it would remain free from

             governmental invasion, whether he took normal precautions to maintain his privacy and

             whether he was legitimately on the premises. United States v. Pitt, 717 F.2d 1334,

             1337 (11th Cir. 1983); Haydel, 649 F.2d at 1154-55. “The essence of this inquiry is

             whether the defendant has ‘demonstrate[d] a significant and current interest’ in the

             property at the time it was searched.” United States v. Bushay, 859 F. Supp. 2d 1335,

             1350 (N.D. Ga. 2012) (Batten, J.) (quoting United States v. Garcia, 741 F.2d 363, 366

             (11th Cir.1984)). To have an expectation of privacy in premises that he did not own or

             lease, a defendant must show “ ‘an unrestricted right of occupancy or custody and

             control of the premises as distinguished from occasional presence on the premises as

             a mere guest or invitee.’ ” Id. (quoting United States v. Baron-Mantilla, 743 F.2d 868,

             870 (11th Cir. 1984)); see also United States v. Chaves, 169 F.3d 687, 690-91

             (11th Cir. 1999) (same); United States v. Bachner, 706 F.2d 1121, 1126 n.6

             (11th Cir. 1983) (same); Garcia, 741 F.2d at 366 (stating that although defendant had

             more than tenuous interest in searched apartment, he had no standing where

             connections were not regular or personal enough to find that appellant adopted

             apartment as a place of business or as a residence). Compare United States v. Torres,

             705 F.2d 1287, 1294-95 (11th Cir. 1983), vacated en banc, consideration pending

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             remand to panel, 718 F.2d 998 (11th Cir. 1983), remanded, 720 F.2d 1506 (11th Cir.

             1983), on appeal after remand, 741 F.2d 1323 (11th Cir. 1984) (where defendants were

             house guests of searched house, ate, slept and showered there, stored personal

             belongings there and were the only guests in house at time of search, standing to

             challenge search existed).

                   While the Eleventh Circuit has allowed a defendant to rely on testimony or an

             inventory prepared by the government identifying property as belonging to the

             defendant, United States v. Eyster, 948 F.2d 1196, 1209 (11th Cr. 1991),3 a defendant

             may not establish standing by relying on the government’s theory of the case. United

             States v. Singleton, 987 F.2d 1444, 1449 (9th Cir. 1993); United States v. McNeal,

             82 F. Supp. 2d 945, 950 (S.D. Ind. 2000); see also United States v. Thompson,

             171 Fed. Appx. 823, 828 (11th Cir. Mar. 27, 2006) (concluding that motion to suppress

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                           The undersigned notes that the Seventh Circuit provides a defendant less
             leeway. That court has held that a defendant may not establish a subjective expectation
             of privacy by relying on facts in a search warrant affidavit or testimony from a
             government witness because “without an affidavit or testimony from the defendant it
             is almost impossible to find a privacy interest because this interest depends, in part, on
             the defendant’s subjective intent and his actions that manifest that intent.” See United
             States v. Ruth, 65 F.3d 599, 604-05 (7th Cir. 1995). The Eleventh Circuit, on the other
             hand, has suggested that under proper circumstances, a warrant affidavit might provide
             evidence of standing. See United States v. Thompson, 171 Fed. Appx. 823, 828
             (11th Cir. Mar. 27, 2006) (indicating under circumstances of the case that warrant
             affidavit did not establish standing).

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             relying on government contention that room was rented by defendant was insufficient

             to demonstrate standing to warrant an evidentiary hearing); United States v. Henry,

             No. 1:09-cr-522-1-TCB-GGB, 2010 WL 5559207, *4 (N.D. Ga. Dec. 7, 2010) (R&R

             adopted by 2011 WL 65762 (N.D. Ga. Jan. 7, 2011)) (“The Government correctly

             contends that Defendant cannot show standing simply through the contentions of

             Government agents or the theory of the Government’s case.”) (citing United States v.

             Zermeno, 66 F.3d 1058, 1062 (9th Cir. 1995)). Also, a defendant cannot rely on general

             or conclusory assertions to establish standing. United States v. Cooper, 203 F.3d 1279,

             1284 (11th Cir. 2000); see also United States v. Mendoza, 438 F.3d 792, 795 (7th Cir.

             2006) (holding that offer of conclusory statements was insufficient to establish

             standing); United States v. Silouangkhoth, No. 2:10-cr-821, 2011 WL 1549427, *2

             (D. Utah Apr. 21, 2011) (finding that defendant did not establish standing where he

             made “a conclusory allegation that he has [ ] an interest in, or control over, the

             property”).

                   At the hearing, Henry introduced the following evidence in an attempt to satisfy

             his burden to establish a legitimate expectation of privacy. In executing the warrant,

             law enforcement located a framed photograph of Defendant on display, as well as other

             photographs of Henry along with Sara Scott, his girlfriend and the lessee of the

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             premises. T17, 18; Def. Exs. 6-8. A closet contained many items of male clothing that

             the agents believed was Henry’s. T19-21; Def. Ex. 12. An SUV that contained bills

             of sale to and from “Wesley Johnson,” one of Henry’s aliases, was parked in the

             garage. T14-15, 23, 26, 27-28, 85-86; Govt. Ex. 7.45 A neighbor stated that she had

             seen Henry at that location “overnight a couple of times.” T30; see also T37-38, 40.

             Also, the search warrant detailed that the day before the execution of the warrant, law

             enforcement believed that Henry orchestrated a drug transaction from the premises.

             [Doc. 615 at 10-11 (citing Def. Ex. 16)]. Police believed he was connected to that

             location. T100. Moreover, an effort had been made to hide the controlled substances

             in the location, because the drugs that were located when the search warrant was

             executed were secreted throughout the residence, including in the wall insulation.

             T101-02.



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                           Specifically, the SUV contained a bill of sale dated May 20, 2010, to
             “Wesley Johnson,” and another dated June 21, 2010, from “Wesley Johnson” to “Paul
             C. Hue.” Govt. Ex. 7, item N-69. Hue was the owner of Nguyen Motor Sports. T113.
             Thus, at the time of the search, the ownership of the SUV appears to have been
             transferred to someone other than Henry.
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                           While the warrant was being executed, a sister of Defendant’s girlfriend
             arrived driving a vehicle she claimed “had belonged” to Defendant. T80. At the time
             the sister arrived in the vehicle, the vehicle was registered in the name of Patrick
             McKen. T113.

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                     However, the residence was leased to Henry’s girlfriend, Sara Scott, T28, and the

             gas and cable service bills were in her name. Id. Located in the SUV were paycheck

             stubs, financial and medical records, and court documents in Scott’s name. T84-85.

             No documents were located in the residence or SUV in the name of “Otis Henry.”

             T85.6

                     None of these facts, singularly or in combination, “shows ‘an unrestricted right

             of occupancy or custody and control of the premises as distinguished from occasional

             presence on the premises as a mere guest or invitee.’ ” United States v. Campbell,

             434 Fed. Appx. 805, 810 (11th Cir. July 13, 2011) (quoting Baron-Mantilla, 743 F.2d

             at 870). Moreover, Henry’s drug dealing on the premises (and hiding the drugs in the

             walls and elsewhere) does not serve to establish a legitimate expectation of privacy in

             the premises. Cooper, 203 F.3d at 1285 n.3 (stating that “to establish a reasonable

             expectation of privacy in a third-party’s home, an individual must demonstrate [he] is

             a guest on the premises for a personal occasion, rather than for strictly a commercial

             purpose”); United States v. Rivera-Pabon, No. 11-11661, 2012 WL 4936571, at *1

             (11th Cir. Oct. 18, 2012) (guest who used house to prepare and package cocaine had


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                        None of the witnesses and cooperating sources shown a photograph of
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             1855 8 Street identified it as Henry’s residence. T115.

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             lower expectation of privacy); see also United States v. Bell, 218 Fed. Appx. 885, 895

             (11th Cir. Feb. 13, 2007) (holding that in order to establish reasonable expectation of

             privacy, defendant would have to prove that he was a guest for personal reasons and not

             a commercial purpose) (citing Minnesota v. Carter, 525 U.S. 83, 90-91 (1998)); United

             States v. Sarda-Villa, 760 F.2d 1232, 1236-37 (11th Cir. 1985) (holding that drug

             smugglers could not assert standing solely on the basis that they hid the drugs well and

             hoped no one would find them, and stating that “we are not willing to say that society

             is prepared to recognize a justifiable expectation of privacy solely on the basis of

             appellants’ efforts to secret the contraband”). Further, Henry’s reliance on the

             government’s theory of the case – that he stored drugs at his girlfriend’s residence –

             is, as has been discussed, an improper basis upon which to claim standing.

                   The facts of this case are different than those in United States v. Pollard,

             215 F.3d 643 (6th Cir. 2000). In Pollard, the court held that the defendant had a

             reasonable expectation of privacy in another’s residence, because the evidence showed

             that “[h]e had been friends for approximately seven years with the lessee . . . and had

             been staying in the home earlier in the week,” “occasionally spent the night at the

             residence and kept some personal belongings in a closet in the living room,” and “was

             allowed to stay in the home even if the residents were not present.” Pollard, 215 F.3d

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             at 647, 648. The record in the present case also compares unfavorably to that in United

             States v. Jenkins, 285 F. Supp. 2d 999, 1006 (S.D. Ohio 2003), rev’d on other

             grounds 396 F.3d 751 (6th Cir. 2005), where the defendant was held to have standing

             to challenge the search of his girlfriend’s house, where the girlfriend testified that the

             defendant (1) was her boyfriend for four years, and at the time of the search was living

             there, as he had for the past two years; (2) slept there approximately five nights per

             week; (3) kept clothes and personal effects and occasionally received mail there;

             and (4) had full access to the residence. She also testified that she was unaware of any

             other place he had to stay.

                   Thus, Henry has not satisfied his burden to show that he had a legitimate

             expectation of privacy in Sara Scott’s residence. In the event the District Judge

             disagrees with the undersigned’s conclusion that Henry lacked a legitimate expectation

             of privacy in the searched premises, following is a discussion of Henry’s challenges to

             the warrant, which challenges the Court also recommends should be rejected.

                   First, the warrant is not invalidated and the evidence seized is not subject to

             suppression by the affiant’s failure to sign the supporting affidavit until almost six

             weeks after the search, where prior to the search the affiant was sworn by the issuing

             judge at the time the warrant was issued. See T149-52; Def. Ex. 17 at 12. Even if

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             facially invalid, the good faith exception to the exclusionary rule, United States v. Leon,

             468 U.S. 897, 913 (1984), saves the fruits of the search from suppression, because the

             officer’s error was inadvertent and the issuing judge, having found probable cause,

             issued the warrant. Massachusetts v. Sheppard, 468 U.S. 981 (1984) (applying

             good-faith exception to technical deficiency in warrant); see United States v. Taxacher,

             902 F.2d 867, 871 (11th Cir. 1990) (“[T]he officer’s reliance on the [judge’s]

             probable-cause determination and on the technical sufficiency of the warrant he issues

             must be objectively reasonable.” (quoting Leon, 468 U.S. at 922) (emphasis omitted)).

             Cf. United States v. Hessman, 369 F.3d 1016, 1021, 1023 (8th Cir. 2004) (concluding

             that officer’s good faith reliance on a warrant was objectively reasonable, even though

             the officer had failed to sign his affidavit and the magistrate had failed to administer an

             oath, noting that “(1) the state magistrate had made a probable cause determination,

             (2) the affidavit provided specific information about the objects of the search, (3) the

             affiant . . . helped execute the warrant, and (4) the warrant could have been made valid

             by the addition of [the affiant’s] signature and administration of an oath.”); see also

             United States v. Trost, 152 F.3d 715, 722 (7th Cir. 1998) (“It should be clear after

             United States v. Leon, 468 U.S. 897 (1984), that technical defects in a warrant do not

             call for or permit exclusion of what the search produces.”) (internal quotations

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             omitted); United States v. Kelley, 140 F.3d 596, 602-03 (5th Cir. 1998) (good faith

             exception to exclusionary rule applied where the magistrate judge failed to sign the

             search warrant because probable cause existed and the warrant was flawed only due to

             the inadvertence of the magistrate).

                   As for defects in the warrant’s execution, even assuming that the State search

             warrant was “federal in execution,” United States v. Lehder-Rivas, 955 F.2d 1510, 1522

             (11th Cir. 1992); United States v. Chastain, 387 Fed. Appx. 914, 1915-16

             (11th Cir. July 20, 2010) (citing Lehder-Rivas)7, and thus had to comply with

             Fed. R. Crim. P. 41’s inventory and return requirements, Henry would not be entitled

             to suppression of the fruits of the search. Violations of Rule 41(f) “are essentially

             ministerial in nature and a motion to suppress should be granted only when the

             defendant demonstrates legal prejudice or that non-compliance with the rule was

             intentional or in bad faith.” United States v. Marx, 635 F.2d 436, 441 (5th Cir. Unit B,

             Jan. 27, 1981)8; see also United States v. Loyd, 721 F.2d 331, 333 (11th Cir. 1983)


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                           The record demonstrates that the search warrant was prepared for and
             executed as part of a federal investigation, and the affiant was a local law enforcement
             officer serving as a member of a DEA task force. T67, 129.
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                           The Eleventh Circuit has adopted as binding all decisions issued by a
             Unit B panel of the former Fifth Circuit. Stein v. Reynolds Sec., Inc., 667 F.2d 33, 34
             (11th Cir. 1982).

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             (“[U]nless a clear constitutional violation occurs, noncompliance with Rule 41 requires

             suppression of evidence only where (1) there was ‘prejudice’ in the sense that the

             search might not have occurred or would not have been so abrasive if the rule had been

             followed, or (2) there is evidence of intentional and deliberate disregard of a provision

             in the Rule.”) (citations omitted). In Marx, the court held that failure to deliver a copy

             of the search warrant to the party whose premises were searched until the day after the

             search did not invalidate a search, in the absence of a showing of prejudice. The Marx

             Court went on to explain that in order to show prejudice in this context, a defendant

             must show that because of the violation of Rule 41, he was subjected to a search that

             might not have occurred or would not have been so abrasive had the rule been followed.

             Marx, id.

                   The defendant has the burden of establishing that the warrant in this case was

             defective or executed improperly. Franks v. Delaware, 438 U.S. 154, 171 (1978);

             United States v. Van Horn, 789 F.2d 1492, 1500 (11th Cir. 1986); Marx,

             635 F.2d at 441; United States v. Vigo, 413 F.2d 691, 693 (5th Cir. 1969) (defendants

             have the burden of proof in challenging the validity of the execution or service of the

             search warrant).




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                   Here, Henry has not satisfied his burden of demonstrating that the search would

             not have occurred or would have been conducted differently if the requirements of

             Rule 41(f) had been followed, or that law enforcement’s violations were committed in

             bad faith. First, a copy of the warrant, along with a handwritten inventory, was left at

             1855 8th Street, so there was no violation of Rule 41(f). T73, 74. That the government

             lost its copy of the handwritten inventory, T96, does not alter this conclusion, as the

             Court finds TFO Gordon’s testimony on this point to be both credible and not

             contradicted. Second, while the return, including the inventory, was not presented to

             the issuing judge until November 23, 2010, more than seven weeks after the search, the

             evidence demonstrates, at most, that TFO Kanupke, the affiant, was negligent due to

             the press of other matters involving the investigation, which included getting an

             accurate count of the 700,000 ecstacy pills, T136-37, 146-47, 155, and trying to locate

             Henry, who was a fugitive. T157. Defendant’s postulating that the delay had to be the

             result of bad faith is not borne out by the record, nor has he shown how he was

             prejudiced by law enforcement’s inadvertent ministerial lapses.

                   As a result, the Court RECOMMENDS that Henry’s motions to suppress the

             fruits of the search warrant at 1855 8th Street, Chamblee, Georgia, be DENIED be cause




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             he did not have a legitimate expectation in the premises searched, or alternatively,

             because the defects in the warrant or its execution do not require suppression.

             II.   Motion to suppress identification testimony

                   After the photograph of Henry was seized from 1855 8th Street, it was displayed

             to neighbors at that location, at 943 Peachtree Road (another apartment associated with

             Henry), and to law enforcement confidential sources of information. T37-38, 86-87.

             Two neighbors at 1855 8th Street were (at different times) first asked, “Do you know

             who lives here?” and then “Have you seen this guy?” as Gordon showed them the

             photograph.9 T86-87. They both stated they had seen Henry there “a couple of times,”

             with one of them reporting that he drove an SUV. T38-39, 40. The female witness

             seemed “pretty sure” of her identification. T42. The male witness stated that a female

             lived at that address and he had seen the male depicted in the photograph at that

             residence “a couple of times.”     T45.    He appeared slightly less certain of the

             identification than the female witness. T46.

                   On December 15, 2010, law enforcement displayed the photograph to the

             concierge at 943 Peachtree Road. T47. The officers already had the paperwork



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                          The photograph was the same photograph seized from 1855 8th Street, but
             taken out of the picture frame. T57.

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             identifying the owner of Apartment 707 (not Henry), and they knew that the owner did

             not reside there. T49. The concierge stated that there were too many people coming

             and going from that unit for him to know exactly who was residing there, and after he

             was shown the photograph, stated that he had seen him but did not pay too much

             attention and was not sure. T49-50.

                   The photograph also was shown to confidential sources in December 2010 and

             after January 2011. T51-52. CS-1 was shown the photo in law enforcement’s effort

             to locate Henry, who was a fugitive at the time, and CS-1 had stated he knew Henry and

             affirmatively identified the person depicted in the photograph as “Otis.” He had not

             given a physical description of Henry before being shown the photograph, but stated

             he had seen Otis numerous times. T52-53. As for CS-1’s level of certainty in his

             identification, Gordon testified that CS-1 made the identification even before the

             photograph was placed down on the table before him. T53.

                   CS-2 identified Henry after being shown a collection of 30 photographs of

             persons and places relevant to the investigation. (Henry was the 17th photograph in the




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             exhibit). T56-57, 58 & Govt. Ex. 2.10 The series of photographs depicted another

             person named Otis as well. T58. CS-2 was very certain of the identification. T60.

                   CS-3 and CS-4 also definitely identified “Otis” in the photograph collection.

             T62, 63.

                   The Supreme Court established the due process standard against which police

             identification procedures are to be measured in Stovall v. Denno, 388 U.S. 293 (1967).

             A violation of due process occurs when, under “the totality of the circumstances,” a

             confrontation procedure is “unnecessarily suggestive and conducive to irreparable

             mistaken identification.” Simmons v. United States, 390 U.S. 377, 384 (1968).

                   Courts employ a two-part test for determining whether an out-of-court

             identification can properly be admitted. First, the Court determines whether the

             original identification procedure was unduly suggestive. A finding of impermissible

             suggestiveness raises concern over the reliability of identification and triggers closer

             scrutiny by the Court to determine whether such a procedure created a substantial risk

             of misidentification. Allen v. Estelle, 568 F.2d 1108, 1113 (5th Cir. 1978). Claims that

             the circumstances of a police identification procedure are so unnecessarily suggestive


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                        Again, the photograph was a copy of the same photograph seized from
                    th
             1855 8 Street, but taken out of the picture frame. T57.

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             as to produce irreparable misidentification must be evaluated in light of the totality of

             the surrounding circumstances. Nettles v. Wainwright, 677 F.2d 410, 414 (11th Cir.

             1982); Rudd v. State of Fla., 477 F.2d 805, 811 (5th Cir. 1973) (“Pretrial identification

             procedures should not be found impermissibly suggestive on the basis of rigid

             application of categorical rules. For example, indicia of reliability such as a witness’

             strong recollection from an independent, untainted source may in some cases counteract

             the suggestiveness in certain identification procedures. Also, exigencies of efficient

             police work may occasionally justify identification procedures that in other contexts

             would be unnecessarily suggestive. Because of these and other variables spanning the

             range of human experience, courts have wisely counseled against determination of

             constitutionally impermissible suggestiveness on other than a case-by-case basis.”).

                   If the procedures utilized were unduly suggestive, the Court then considers

             whether, under the totality of the circumstances, “the identification was nonetheless

             reliable.” United States v. Brown, 441 F.3d 1330, 1350 (11th Cir. 2006) (citing United

             States v. Diaz, 248 F.3d 1065, 1102 (11th Cir. 2001)). The factors that go into this

             “totality of the circumstances” test include the opportunity to view, the degree of

             attention, the accuracy of the description, the level of certainty, and the length of time




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             elapsing between the crime and the identification. Blanco v. Singletary, 943 F.2d 1477,

             1508 (11th Cir. 1991) (footnote omitted).

                   The defendant has the burden of showing that the eyewitness identification was

             derived through “impermissibly suggestive” means.         Perry v. New Hampshire,

             132 S. Ct. 716, 733 (2012); Simmons, 390 U.S. at 384; Cikora v. Dugger, 840 F.2d 893,

             895 (11th Cir. 1988). Only after the defendant meets this burden must the government

             show the identification was reliable independent of the suggestive procedure. United

             States v. Wade, 388 U.S. 218, 240 & n.31 (1967); United States v. Sanchez,

             24 F.3d 1259, 1261-62 (10th Cir. 1994); United States v. Mustafa, Criminal Action

             No. 1:11-CR-0234-1-CAP, 2012 WL 1903255, at *2 (N.D. Ga. May 25, 2012).

                   Henry only complains about, and in any event, the evidence only supports, a

             conclusion that displaying a single photograph of Henry to the neighbors and CS-1

             arguably implicates due process because the procedure was overly suggestive. Courts

             have concluded that showing a witness only one photograph is unduly suggestive. See

             Manson v. Brathwaite, 432 U.S. 98, 109 (1977) (single photograph of defendant

             suggestive and unnecessary); United States v. Cannington, 729 F.2d 702, 711

             (11th Cir.1984); United States v. Cueto, 611 F.2d 1056, 1064 (5th Cir. 1980); see also

             United States v. Jean, 315 Fed. Appx. 907, 912 (11th Cir. Feb. 27, 2009).

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                   Even if the display of the single photograph was unduly suggestive, the

             identifications nonetheless were reliable and overcame any taint of over-suggestiveness.

             As to the neighbors on 8th Street, they had multiple opportunities to observe Defendant

             at that location, so much so that one of them recalled the general type of vehicle he

             drove. These witnesses lived in close proximity to Scott’s residence and thus were

             close enough to observe Henry.        The female witness was very certain of her

             identification, and stated that Henry occasionally stayed overnight at Scott’s residence.

             While the male witness was less certain of his identification, he also had seen

             Defendant on more than one occasion. It also is significant that Gordon’s manner in

             seeking these witnesses’ cooperation was non-coercive and he asked open-ended

             questions, thus making any identification by these individuals more reliable and less

             influenced by an overly suggestive procedure. As a result, the undersigned concludes

             that these identifications do not offend Henry’s Due Process rights.

                   As for CS-1, he was so certain that Henry was depicted in the photograph that

             he made the identification before the photograph was even placed on the table in front

             of him. CS-1 also had prior dealings with Henry, thus minimizing the chance that the

             identification was tainted by the overly suggestive procedure. Thus, the undersigned

             concludes that CS-1’s identification was not in violation of Henry’s Due Process rights.

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                    The Court notes that as to those identifications made from the collection of

             photographs, Henry has not satisfied his burden to demonstrate that the manner in

             which the identifications were made was unduly suggestive.

                    As a result, as to the two separate identifications that Henry arguably has shown

             undue suggestiveness, the government has satisfied its burden of showing that the

             identifications were nonetheless reliable and not in violation of Henry’s Due Process

             rights. Therefore, the undersigned RECOMMENDS that the motions to suppress

             identification testimony, [Docs. 509, 552, 573], be DENIED.

             III.   Motion to suppress statements and search at Wingate Inn, Room 125

                    After the October 1, 2010, execution of the search warrant at 1855 8th Street,

             Henry was a fugitive, T157, but shortly before January 23, 2012, information was

             received that he was in the Tampa, Florida, area, specifically at the Wingate Inn near

             the University of South Florida. T158. TFO Gordon observed him in a FedEx-Kinko’s

             store across the street from the motel, where law enforcement officers arrested him.

             T160. In a search incident to his arrest, identification in the name of “Wesley Johnson”

             was retrieved from Henry’s wallet. T160. A cellular telephone also was seized from

             his person. Because Henry used a cellular phone almost exclusively to facilitate his

             drug trafficking, Gordon searched it on the scene to verify this was the phone for which

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             the DEA had obtained a pen register, and also to obtain from the telephone Henry’s

             contacts and missed calls. T164, 177. Gordon testified the cell phone was a Samsung

             issued through Metro PCS. Gordon testified that he was concerned about, but unsure

             of, what happened to information on that phone if the battery were removed or lacked

             power, or whether data on the phone could be remotely erased. T181.

                   Once Henry was taken out of the store, he complained that the handcuffs were

             too tight. T166. As Henry was placed in leg irons and a belly chain, with his hands

             cuffed to the front, T166, he was told that if he ran, he would be Tasered. T208. Henry

             was asked where he was staying, and he replied room 125 at the Wingate. They placed

             him in a U.S. Marshal SUV and began transporting him the short distance across the

             multi-lane road to the motel. T166, 185. Gordon asked him if there were any other

             persons in his room, or other items that might hurt police, or drugs, and he replied that

             there were just two pounds of marijuana in a suitcase in the room. T167, 185-86, 198,

             204. Gordon told him to wait before he stated anything else, and after they arrived at

             the motel and while they stood behind the SUV in the motel parking lot, Gordon then

             read Henry Miranda rights from a DEA-13A card. T167-68; Govt. Ex. 3.11 Henry

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                          The form provided:

                   Before we ask you any questions, you must understand:

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             responded by asking what he needed to do to cooperate. T189. Gordon asked him if

             he wanted to call Scott, and Henry wanted to know if she was in trouble. T198-99.

             Gordon replied that she was not, but it had nothing to do with Henry’s actions. T200-

             01, 209.

                   Numerous officers were involved in the surveillance and arrest and all of them

             were in plain clothes with some sort of vest with police markings and firearms, but no

             firearms were drawn. T162, 178. Henry was cooperative and calm. T163,170. He

             asked for and was allowed to smoke a cigarette. T170. He did not appear under the

             influence of drugs or alcohol. T171.




                   -You have the right to remain silent.

                   -Anything you say can be used against you in court.

                   -You have the right to talk to a lawyer for advice before we ask you any
                   questions and to have a lawyer with you during questioning.

                   -If you cannot afford a lawyer, one will be appointed for you before any
                   questioning if you wish.

                   Do you understand?

                   Are you willing to answer some questions?

             Govt. Ex. 3.

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                   Gordon asked him if he consented to a search of the room and Henry verbally

             agreed to let the officers search his hotel room. T169, 175. Gordon had told Henry that

             if he did not consent, he would apply for a warrant. T191. Henry replied that he was

             in enough trouble already in that he already told them the marijuana was in the room,

             so he agreed to the search. T169. As Gordon read the written DEA consent-to-search

             form, Govt. Ex. 4, Henry appeared to read along. T171. He was sitting on the stairs

             of the motel. T172. Henry was asking what kind of sentence he could receive, and

             Gordon advised him that it was up to the judge, and this was confirmed through a

             telephone conversation with the AUSA in charge of the case. T171. He signed the

             form, but because his signature was illegible, Gordon asked him to print his name, and

             after a conversation about which name he should put on the form (his real name or the

             alias he used to register at the motel), he ultimately wrote “Otis.” T173. He later wrote

             “Henry.” T193. Gordon gave the go-ahead to other officers to search the room upon

             Henry’s placing his indecipherable signature on the consent to search form. T193.

                   There were no items in the room bearing Henry’s name. T99. However, Henry

             possessed a magnetic plastic key to that room and told the officers he was staying there.

             T111. Also, the room was registered in a known alias of Henry, “Wesley Johnson.”

             Def. Ex. 13.

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                    Three issues are presented by the facts surrounding Henry’s arrest in Tampa:

             whether (1) his cell phone was validly searched without a warrant as incident to

             arrest; (2) his admission about marijuana in his room was obtained in violation of

             Miranda; and (3) the consent to search was voluntary.12 The Court addresses the issues

             in turn.

                    A.    Warrantless search of Henry’s cell phone

                    The Eleventh Circuit to date has not decided whether police may search an

             arrestee’s cell phone incident to a lawful arrest and without a search warrant. See

             United States v. Allen, 416 Fed. Appx. 21, 27 (11th Cir. Jan. 31, 2011) (“It is a fairly

             difficult question, however, it is also a question that we need not answer today.”).




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                           At the evidentiary hearing, the Court concluded that Henry had standing
             to contest the search of the motel room. T118-19. The Eleventh Circuit has held that
             an individual has an expectation of privacy in a hotel room for which he uses an alias
             to register where he has exclusive control over the room and the keys. United States
             v. Newbern, 731 F.2d 744, 748 (11th Cir. 1984); see also United States v. Cunag,
             386 F.3d 888, 894-95 (9th Cir. 2004) (stating that a person’s privacy interest in a
             fraudulently obtained hotel room is diminished, but not extinguished until the hotel
             owner takes affirmative acts to evict the occupant). Cf. United States v. Watson,
             950 F.2d 505, 507 (8th Cir. 1991) (defendant possessed expectation of privacy in house
             purchased under an alias); United States v. Savage, Criminal Action No. 07-550,
             2013 WL 271797, at *3 (E.D. Pa. Jan. 24, 2013) (holding that defendant’s use of an
             alias in renting apartment and registering the vehicle did not negate his standing to
             challenge search).

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                   The undersigned agrees with the Circuit that this is a difficult question and to

             prophesize how the Supreme Court or the Eleventh Circuit will rule on this issue is an

             equally fraught endeavor. The Court recognizes that cell phones today are repositories

             of far greater information than cell phones of even a few years vintage, and that the

             purposes and uses of these devices are well broader than items which might

             traditionally have been the subject of incident-to-arrest searches, such as wallets,

             purses, diaries and briefcases. That being said, the Court concludes that Gordon’s

             actions in this case - determining whether the phone number was one for which a pen

             register had been obtained, and scrolling through the contacts list and checking for

             missed calls - does not offend the search-incident-to-arrest exception to the Fourth

             Amendment’s warrant requirement.

                   The Supreme Court has consistently allowed a thorough search of an arrestee and

             the items he possesses at the time of his arrest, because, once a person is lawfully seized

             and placed under arrest, he has a reduced expectation of privacy in his person. See,

             e.g., United States v. Robinson, 414 U.S. 218, 233-24 (1973) (upholding search of

             closed cigarette package on arrestee’s person); see also United States v. Richardson,

             764 F.2d 1514 (11th Cir. 1985) (search of wallet and papers found on defendant’s

             person validly seized in search incident to arrest). Significant to this Court is the

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             Supreme Court’s pronouncement in Robinson that a showing of necessity, either for

             officer safety or destruction of evidence, is not required to justify an officer’s search

             incident to arrest. Robinson, 414 U.S. at 235 (rejecting suggestion that “there must be

             litigated in each case the issue of whether or not there was present one of the reasons

             supporting the authority” to conduct a search incident to arrest). The Fourth

             Amendment “permits warrantless searches incident to custodial arrests, and has

             traditionally been justified by the reasonableness of searching for weapons, instruments

             of escape, and evidence of crime when a person is taken into official custody and

             lawfully detained.” United States v. Edwards, 415 U.S. 800, 802-03 (1974) (citing

             Robinson, 414 U.S. 218; Chimel v. California, 395 U.S. 752, 755 (1969); and Weeks

             v. United States, 232 U.S. 383, 392 (1914)). This exception to the warrant requirement

             allows police to remove any weapons that might pose a danger to officer safety and to

             prevent the concealment or destruction of evidence. Chimel, 395 U.S. at 763.

                   In the present case, the Court agrees with those courts that have concluded that

             an arrestee’s cell phone properly may be searched without a warrant as incident to his

             lawful arrest for drug trafficking. United States v. Rodriguez, 702 F.3d 206, 209-10

             (5th Cir. 2012) (relying on United States v. Finley, 477 F.3d 250, 259-60 (5th Cir. 2007)

             (cell phone properly searched without a warrant pursuant to defendant’s arrest)); Silvan

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             W. v. Briggs, 309 Fed. Appx. 216, 225 (10th Cir. Jan. 23, 2009) (holding that “the

             permissible scope of a search incident to arrest includes the contents of a cell phone

             found on the arrestee’s person”) (citing Finley, 477 F.3d at 260); United States v.

             Mendoza, 421 F.3d 663, 668 (8th Cir. 2005); United States v. Murphy, 552 F.3d 405,

             410-12 (4th Cir. 2009) (upholding search of cell phone as incident to arrest); United

             States v. Ortiz, 84 F.3d 977, 982-84 (7th Cir. 1996) (officers were authorized to seize

             pursuant to arrest a suspected heroin supplier’s pager and wristwatch containing an

             electronic telephone directory in order to preserve evidence, since the pager’s electronic

             memory was finite or could easily be destroyed or lost); United States v. Gomez,

             807 F. Supp. 2d 1134, 1149 (S.D. Fla. 2011) (holding that “the immediate search at the

             scene of the cell phone’s call log history, limited to phone calls from the preceding 24-

             48 hours, in our view, was reasonable and appropriate under Supreme Court and

             Eleventh Circuit precedent”); see also United States v. McCray, No. CR408-231,

             2009 WL 29607, at * 3 (S.D. Ga. Jan. 3, 2009) (collecting cases). Cf. United States v.

             Quintana, 594 F. Supp. 2d 1291, 1299-1300 (M.D. Fla. 2009) (suppressing search of

             cell phone’s digital photo album incident to arrest for driving while license suspended)

                   These cases support a conclusion that the limited search of Henry’s cell phone,

             which was removed from his person at the time of his arrest and was virtually

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             contemporaneous with his arrest, was lawful.13 For the above reasons, the searching

             of Defendant’s cell phone without a warrant in the manner described at the evidentiary

             hearing was lawful.

                   B.     Henry’s post-arrest, pre-Miranda statements

                   The Court agrees with Henry that Gordon’s question “[D]o you have any guns,

             weapons -- or drugs, weapons, knives, bazookas, or atomic bombs, or any small

             animals that might hurt me or anything else that might hurt me in the room,” T204

             (emphasis added), prior to advising Henry of his Miranda rights, did not fall within the

             public-safety exception announced in New York v. Quarles, 467 U.S. 649 (1984).

                   The question in this case was not the broad question asked approvingly in United

             States v. Newton, 369 F.3d 659, 663-64 (2d Cir. 2004) (holding that asking parolee

             whether he had any “contraband” in the house was not outside public safety exception

             because “public safety questions are framed spontaneously in dangerous situations

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                           The Court concludes that the search was permitted independent of any
             exigency that the data on the phone might be lost or compromised (which evidence in
             any event was generic and not specific to the facts of this case), or probable cause to
             believe that incriminating evidence would be located on the phone (although probable
             cause existed since Henry used a cell phone to communicate with others in his drug
             trafficking and was a fugitive from drug charges). The Court also does not reach the
             propriety of any subsequent warrantless search of the phone less proximate in time to
             Defendant’s arrest, or a more extensive search, such as for the content of emails, texts,
             notes, photographs, passwords maintained or websites visited or stored.

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             [and p]recision crafting cannot be expected in such circumstances,” particularly where

             parolee disclosed he had a gun and thus understood question to refer to safety-

             challenging items); United States v. Reyes, 353 F.3d 148, 150, 154 (2d Cir. 2003)

             (“anything on him that [could] hurt [the officer] or anyone on [the] field team”), even

             though it prompted the defendant to disclose his possession of a packet of drugs as well

             as a firearm, or the one approved in United States v. Williams, 181 F.3d 945, 953

             (8th Cir. 1999) (where defendant was asked “is there anything we need to be aware

             of?”—which prompted defendant to offer a response clearly related to public safety,

             namely, that he had a gun in a closet).

                   Instead, the question was similar to the one asked in United States v. Thomas,

             77 Fed. Appx. 673, 675 (4th Cir. Oct. 14, 2003). There, the police, after arresting the

             defendant, also were executing a document search warrant on the defendant’s apartment

             and asked him, without benefit of Miranda rights, whether he had any drugs or

             weapons. The defendant directed the officers to a gun in a jacket and 740 grams of

             cocaine in a bag on a chair. The Fourth Circuit found the gun was admissible under the

             public safety exception, but that the drugs were admissible under the inevitable

             discovery doctrine of Nix v. Williams, 467 U.S. 431 (1984).




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                   The Court recognizes that in United States v. Carrillo, 16 F.3d 1046, 1049

             (9th Cir. 1994), the court found the defendant’s statement admissible under public safety

             exception where, prior to administering Miranda warnings, the officer asked defendant

             before searching him whether defendant had any drugs or needles on his person. The

             officer in Carrillo asked his question as a matter of policy before searching a prisoner

             to avoid contact with syringes and toxic substances. Id. Like the Carrillo officer, TFO

             Gordon in this case asked the question as a matter of policy.

                   In addition to Carrillo not being binding on this Court, other factors distinguish

             that case from the present one. First, in Carrillo, the question was asked before the

             defendant was searched, whereas here, the question was asked about a location across

             the street from the place of the defendant’s arrest. In searching an arrestee’s person,

             an officer faces a risk when reaching into enclosed pockets, etc. While the Court does

             not minimize the potential risk to law enforcement when searching a location in which

             controlled substances may be hidden, the risk is not the same as having to search the

             person of an arrestee. Second, there was evidence in Carrillo that during past searches

             the officer had been poked by needles and suffered headaches and skin irritation from

             contact with illegal drugs. Id. at 1049 n.1. No such evidence was adduced in this case.

             Third, Quarles prohibits “questions designed solely to elicit testimonial evidence from

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             a suspect.” Quarles, 467 U.S. at 658-59. Thus, to fall within the exception, a question

             must have some rational relationship to defusing the perceived danger. Newton,

             369 F.3d at 679 n.8. In this case, TFO Gordon initially did not mention drugs when he

             was asked what his standard question to suspects was: “I ask the same thing to

             everybody. Are there any guns, weapons, knives, bazookas, atomic bombs, or small

             animals, or anything else that might hurt me in the room?” T167; but see T204, 210-

             11. As a result, the Court concludes that Gordon did not have a safety concern over the

             presence of drugs.

                   Finally, the Court is cognizant of the safety concern raised by the government of

             controlled substances left in a hotel room. However, as to this contention, the Court

             finds the rationale of the Fifth Circuit instructive:

                   The public safety exception archetypically applies in those situations in
                   which law enforcement is confronted with an on-going conflict, arrest, or
                   other volatile situation.[ ] It does not apply, however, when law
                   enforcement is simply aware of or believes that contraband may be located
                   in a particular location to which the public does not have access, such as
                   a vehicle or, arguably, a motel room.[ ]

             United States v. Green, 388 Fed. Appx. 375, 379 (5th Cir. July 1, 2010). As a result, the

             Court concludes that the public safety exception does not prevent the suppression of

             Defendant’s unwarned admission that he had marijuana in his motel room



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                   Therefore, the undersigned RECOMMENDS that the District Court

             SUPPRESS from Henry’s trial his pre-Miranda statement that he had marijuana stored

             in his hotel room.

                   On the other hand, Henry makes no additional claim that his post-Miranda

             statements were unlawfully obtained. [See Doc. 671, passim]. It is evident from the

             record that Henry was properly Mirandized, he voluntarily waived those rights, and that

             his subsequent statements were voluntarily obtained. Therefore, to the extent Henry

             challenges his post-Miranda statements, the undersigned RECOMMENDS that any

             challenge be DENIED. Thus, the undersigned RECOMMENDS that Henry’s motion

             to suppress his post-arrest statements, [Doc. 507], be GRANTED IN PART AND

             DENIED IN PART.

                   C.     Consent to search Room 125 at the Wingate Motel

                   At the conclusion of the evidentiary hearing, the Court directed the parties to file

             opening briefs as to those issues upon which the party had the burden of proof, which

             included a discussion of the government’s burden to demonstrate that the hotel room

             was searched pursuant to voluntary consent. T212-13. While listing the issues for the

             government to brief, the Court inadvertently did not mention the consent search of the

             hotel room, T213. However, even though the government had the burden of proof as

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             to the consent to search the motel room, the government did not make any arguments

             as to the voluntariness of the consent to search in its post-evidentiary hearing brief, [see

             Doc. 629 passim], although it did set out what it contended were the relevant facts,

             [id. at 9-10]. Nor did the government file a reply to Henry’s brief in which he argued

             that the consent was not voluntary. [See Doc. 671 at 26].

                   Rather than declare that the government has forfeited this issue by failing to

             argue it in its post-evidentiary hearing brief, given the ambiguity of the Court’s

             directions, and the preference for completely addressing all issues on the merits for the

             District Judge, the Court ORDERS the government to file a brief on this issue

             within ten (10) days of the entry of this Order and R&R. Defendant may file a reply

             brief within seven (7) days following the government’s filing. The Court’s R&R on

             Henry’s motion to suppress, [Doc. 508], relating to the search of the motel room shall

             be HELD IN ABEYANCE pending the receipt of additional briefing.

             IV.   Conclusion

                   For the reasons stated above, the undersigned RECOMMENDS that Defendant

             Henry’s motions to suppress evidence from 1855 8th Street, Chamblee, Georgia,

             [Docs. 513, 521], and identifications, [Docs. 509, 552, and 573], be DENIED; his

             motion to suppress statements, [Doc. 507], be GRANTED IN PART AND DENIED

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             IN PART; and the motion to suppress evidence, [Doc. 508], be DENIED IN PART

             AND HELD IN ABEYANCE IN PART, pending the filing of a brief by the

             government on the propriety of the search of Henry’s motel room at the Wingate Inn

             within ten (10) days of the entry of this Order and R&R. Defendant may file a reply

             brief within seven (7) days following the government’s filing.

                     IT IS SO RECOMMENDED and DIRECTED, this 30th day of January ,

             2013.




                                            ALAN J. BAVERMAN
                                            UNITED STATES MAGISTRATE JUDGE




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